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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



FEDERAL TRADE COMMISSION,

                      Plaintiff,

                        v.

ILLUMINA, INC.,        and
                                                                Civil Action No. __-cv-_________
GRAIL, INC.,

                       Defendants.




    PLAINTIFF FEDERAL TRADE COMMISSION’S UNOPPOSED MOTION FOR
              ENTRY OF A TEMPORARY RESTRAINING ORDER

       Plaintiff, the Federal Trade Commission (the “Commission”) has filed this action seeking

an order preliminarily enjoining the proposed acquisition of GRAIL, Inc. (“Grail”) by Defendant

Illumina, Inc. (“Illumina”) as a violation of Section 5 of the FTC Act, 15 U.S.C. § 45, and

Section 7 of the Clayton Act, 15 U.S.C. § 18. In the absence of temporary relief, Defendants

would be able to consummate the proposed acquisition after 11:59 p.m. Eastern Time on March

31, 2021. However, the parties have stipulated to a temporary restraining order under which

Defendant Illumina will not consummate the proposed transaction until the earlier of 12:01 AM

on September 20, 2021 or after 11:59 PM Eastern Time on the second (2nd) business day after

the Court rules on Plaintiff’s motion for a preliminary injunction pursuant to Section 13(b) of the

Federal Trade Commission Act, 15 U.S.C. § 53(b); or (c) immediately upon dismissal of this

action by the Commission. The stipulation is attached hereto.

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